         Case 3:21-cr-00051-DJH Document 6 Filed 06/09/21 Page 1 of 1 PageID #: 15
USDC KYWD - Minute Order (Rev. 11/11)


                                         United States District Court
                                         Western District of Kentucky
                                                at Louisville

UNITED STATES OF AMERICA                                                                            PLAINTIFF

VS.                                                       CRIMINAL ACTION NUMBER: 3:21-CR-51-DJH

SAMIR RAHMATUALLAH LADHANI                                                                        DEFENDANT

                                        ORDER ON INITIAL APPEARANCE

            The above-styled case came before the Honorable Regina S. Edwards, United States Magistrate
Judge, by video, on June 9, 2021 to conduct an initial appearance.
            APPEARANCES

            For the United States:          Erin G. McKenzie, Assistant United States Attorney
            For the defendant:              Defendant Samir Rahmatuallah Ladhani - Present
                                            Kayla M.Campbell and Kent Wicker, retained counsel - Present
            Court Reporter:                 Digitally recorded

            At the initial appearance, the defendant acknowledged his identity, was furnished with a copy of the
Indictment, was advised of the nature of the charges contained therein and was advised of his rights.
            The defendant, through counsel, having advised the Court of his intent to enter a guilty plea,
            IT IS HEREBY ORDERED that this case is scheduled for a plea hearing on June 17, 2021 at
10:30 a.m. before the Honorable David J. Hale, United States Magistrate Judge.
            At the recommendation of the Probation Office and by agreement of the United States,
            IT IS FURTHER ORDERED that the defendant is released on his own recognizance pending
further order of the Court.

            This 9th day of June, 2021             ENTERED BY ORDER OF THE COURT:
                                                   REGINA S. EDWARDS
                                                   UNITED STATES MAGISTRATE JUDGE
                                                   JAMES J. VILT, JR., CLERK
                                                   BY: Ashley Henry - Deputy Clerk
Copies: U.S. Attorney
        U.S. Probation
        Counsel for Defendant

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